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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 NORTHERN DIVISION


AMERICAN FEDERATION OF STATE,
COUNTY, AND MUNICIPAL
EMPLOYEES, AFL-CIO, et al.,

                       Plaintiffs,
                                                        Case No. 1:25-cv-00596-ELH
               v.

SOCIAL SECURITY
ADMINISTRATION, et al.,

                       Defendants.



      UNOPPOSED MOTION FOR NUNC PRO TUNC ENLARGEMENT OF TIME

       Pursuant to Federal Rule of Civil Procedure 6(b)(B), Defendants respectfully request that

the Court grant an extension of time, nunc pro tunc, for Defendants to file their opposition to

Plaintiffs’ Motion for Temporary Restraining Order, Preliminary Injunction, and/or 5 U.S.C. § 705

Stay (ECF No. 21), otherwise due at 4:00 p.m. on March 12, 2025. Despite their best efforts to

meet the deadline, Defendants were unable to file their opposition until 4:03 p.m. on the day of the

filing, three minutes after the deadline set by the Court.

       Federal Rule of Civil Procedure 6(b)(B) allows the Court, for good cause, to extend a

deadline “on a motion made after the time has expired if the party failed to act because of excusable

neglect.” Fed. R. Civ. P. 6(b)(B). Defendants respectfully submit that good cause exists here.

First, Plaintiffs do not oppose this motion and, in any event, would not suffer any prejudice from

the requested, very brief extension. Second, the length of delay is de minimis—only three minutes.

Third, Defendants worked diligently to complete the filing by the deadline. Yet, given the short
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time to oppose Plaintiffs’ motion and the complexity of the filing, Defendants required a small

amount of additional time to file. Finally, Defendants acted in good faith to meet the Court’s

deadline.

       Defendants conferred with counsel for Plaintiffs, and Plaintiffs do not oppose Defendants’

motion.

Dated: March 12, 2025                       Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I certify that on March 12, 2025, I electronically filed the foregoing and thereby caused a

copy to be served on counsel of record.

                                                       /s/ Bradley P. Humphreys
                                                       BRADLEY P. HUMPHREYS




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